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   11
                                UNITED STATES DISTRICT COURT
   12
                 CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
   13
         LUCAS R., et al.,                        No. CV 2:18-CV-05741-DMG-PLA
   14
                         Plaintiffs,              REPLY TO OPPOSITION TO MOTION FOR
   15                                             PRELIMINARY INJUNCTION
               v.
   16
                                                  Hearing: August 31, 2018
   17    ALEX AZAR, Secretary of U.S.             Time:    9:30 a.m.
         Department of Health and Human           Room:    1st St. Courthouse
   18    Services; et al.,                                 Courtroom 8C
   19
                         Defendants.
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                                                           REPLY TO OPPOSITION TO MOTION FOR
                                                                     PRELIMINARY INJUNCTION
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    1   I.    INTRODUCTION
    2         Defendants’ reasons for opposing the Court’s enjoining ORR’s confinement of
    3   Lucas in overly restrictive facilities, instead of a suitable custodian—his own sister—
    4   fall into two categories. First, Defendants raise a number of jurisdictional objections:
    5   (i) the Court has no jurisdiction to enforce Lucas’s rights under the Flores Settlement;
    6   (ii) Lucas’s exclusive legal recourse for the irreparable injury ORR is causing him is
    7   to petition for habeas corpus in Texas; and (iii) ORR’s detention of Lucas for nearly
    8   six months in lieu of placing him with his sister is not sufficiently “final” to warrant
    9   the Court’s intervention. Second, Defendants argue, ORR’s suspicions about
   10   Madelyn’s fitness are so substantial that its confining Lucas at the notorious Shiloh
   11   psychiatric facility is the least restrictive placement consistent with his best interests.
   12          As will be seen, Defendants’ jurisdictional objections are without merit. This
   13   Court has repeatedly exercised jurisdiction to enforce the Flores Settlement, and the
   14   Ninth Circuit has affirmed. Lucas’s claims for equitable relief and habeas corpus are
   15   not mutually exclusive, and his claim that ORR has failed to place him in the least
   16   restrictive setting consistent with his best interests is cognizable in an action for
   17   equitable relief. ORR’s decision refusing to release Lucas to Madelyn is wholly final,
   18   and even if it were not, its refusal to release him for nearly half a year is palpably
   19   unreasonable and actionable under the Administrative Procedure Act.
   20         Finally, Defendants offer no competent evidence countering Plaintiff’s
   21   evidentiary showing that Madelyn is perfectly competent to care for her brother. Most
   22   importantly, ORR wholly fails to controvert Lucas’s evidence that ORR detention has
   23   irreparably harmed him and threatens his well-being far more than placing him with
   24   his sister possibly could. This Court should accordingly grant the instant motion and
   25   enjoin ORR to place Lucas with Madelyn forthwith.
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                                                                     REPLY TO OPPOSITION TO MOTION FOR
                                                     1                         PRELIMINARY INJUNCTION
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    1   II.   THIS COURT MAY ENJOIN ORR’S CONTINUING TO CONFINE LUCAS PURSUANT
              TO THE FLORES SETTLEMENT, THE TVPRA, THE APA, AND THE U.S.
    2         CONSTITUTION.
    3
              A.     This Court has jurisdiction to enjoin breaches of the Flores consent
    4                decree.

    5         Defendants first argue that the Court lacks jurisdiction to enforce the Flores
    6   Settlement. Their argument is without merit.
    7         In Kokkonen v. Guardian Life Ins. Co., 511 U.S. 375 (1994), the Court held
    8   that a proceeding to enforce a settlement requires its own basis of jurisdiction. Id. at
    9   378. “Such a basis for jurisdiction may be furnished by separate provision (such as a
   10   provision retaining jurisdiction over the settlement agreement) or by incorporating the
   11   terms of the settlement agreement in the order.” Flanagan v. Arnaiz, 143 F.3d 540,
   12   544 (9th Cir. 1998).
   13         This Court’s jurisdiction to remedy violations of the Flores Settlement is
   14   indisputable. Both the Flores Settlement and the order approving it, 1 reserve
   15   jurisdiction in this Court to redress violations. Flores Settlement ¶ 37 (“This
   16   paragraph provides for the enforcement, in this District Court, of the provisions of
   17   this Agreement except for claims brought under Paragraph 24.”); Order, Jan. 28,
   18   1997, Exhibit 62 filed herewith.2 In Flores v. Johnson, 212 F. Supp. 3d 864 (C.D.
   19
       The Settlement resolves a certified class action, and the Court was accordingly
        1
   20 required to find the agreement “‘fair, reasonable, and adequate.’” Koby v. ARS Nat'l
   21 Servs., 846 F.3d 1071, 1079 (9th Cir. 2017) (quoting Federal Rule of Civil Procedure
      23(e)(2)).
   22
       Paragraph 24 of the Flores Settlement provides for judicial review of class
        2

   23 members’ placement in any judicial district with venue. Paragraph 37 therefore
   24
      retains jurisdiction in this Court to hear claims that ORR is violating any other
      provision of the consent decree, including those requiring prompt release of non-
   25 dangerous class members to qualified custodians. Flores Settlement ¶¶ 14 and 18.

   26 The Flores Settlement’s forum-selection clause is presumptively valid. See M/S
      Bremen v. Zapata Off-Shore Co., 407 U.S. 1, 10 (1972); Argueta v. Banco Mexicano,
   27
      S.A., 87 F.3d 320, 325 (9th Cir. 1996) (“Although Bremen is an admiralty case, its
   28 standard has been widely applied to forum selection clauses in general.”).
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     1   Cal. 2015), this court held it “has the inherent power to enforce the terms of the
     2   [Flores] Agreement because, with certain exceptions not relevant here, the
     3   Agreement ‘provides for the enforcement, in this District Court, of the provisions of
     4   this Agreement. . . .’ (See Agreement ¶ 37; Ps’ First Set, Exh. 2 . . .).” Id. at 869. The
     5   Ninth Circuit affirmed. Flores v. Lynch, 828 F.3d 898, 903 (9th Cir. 2016) (“The
     6   [Flores] Settlement generally provides for the enforcement in the Central District of
     7   California, id. ¶ 37, but allows individual challenges to placement or detention
     8   conditions to be brought in any district court with jurisdiction and venue, id. ¶
     9   24(B).”).3 Defendants offer no reason to disregard these rulings or the plain text of
    10   the Flores Settlement.
    11          Defendants nonetheless assert that “the Court has been clear in stating that
    12   individual claims are not appropriate for resolution through enforcement of the
    13   settlement.” Opp. at 8, citing No. CV-85-4544 DMG, Docket Entry 470 at 5 (C.D.
    14   Cal. July 30, 2018). But the page Defendants cite says nothing about the Court’s
    15   jurisdiction to enforce the Settlement or the propriety of individual actions asking that
    16   it do so.4
    17          Next, Defendants are wrong to the extent they argue that Lucas may not
    18   enforce his Settlement rights in this action, but may only do so in Flores v. Sessions
    19

    20
         Defendants argue that the Flores Settlement cannot “confer subject-matter
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    21 jurisdiction” on this Court. That misunderstands Kokkonen and its progeny, which
    22
       hold that a settlement may extend a court’s original jurisdiction to remedy violations
       of an agreement resolving the underlying action.
    23   4 The Court does elsewhere observe that “Plaintiffs do not request an order releasing
    24   these seven Class Members or any of the other Class Members identified in their
         motion. . . .” id. at 26, but that implies that the Court would indeed review individual
    25
         violations of the Flores Settlement if asked to do so. See also, Bunikyte, ex rel.
    26   Bunikiene v. Chertoff, 2007 WL 1074070, at *4 (W.D. Tex. Apr. 9, 2007) (exercising
         jurisdiction in independent action to enforce Flores Settlement’s placement
    27
         provisions brought by individual unnamed class members held at ICE facility in
    28   Texas).
                                                                     REPLY TO OPPOSITION TO MOTION FOR
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     1   proper. Opp. at 7-8. Defendants offer no authority for this proposition, and the
     2   general rule is to the contrary:
     3         There are . . . many ways in which the performance of a class action settlement
     4         might be called into question before the district court: in a contempt proceeding
     5         (if the claim is that the district court’s orders are not being complied with); in a
     6         new action for breach of contract (if the claim is that one or more parties are
     7         not living up to their obligations under the settlement stipulation); or in a
     8         motion for relief from judgment under Fed. R. Civ. P. 60(b) (if an amendment
     9         of the original judgment is being requested).
    10   Martens v. Thomann, 273 F.3d 159, 172 (2d Cir. 2001); see also id. (“We begin our
    11
         discussion by noting that there is nothing in the Federal Rules of Civil Procedure
    12
         styled a ‘motion to enforce.’”). 5
    13
               The Flores Settlement itself nowhere limits enforcement to a motion brought in
    14
         Flores v. Sessions. Rather, paragraph 37 of the agreement provides for enforcement
    15
         “in this District Court, of the provisions of this Agreement. . . .” (Emphasis added.)
    16
         Had the parties wished to restrict jurisdiction over alleged breaches of the agreement
    17
         to Flores v. Sessions itself, they could easily have done so. They did not. This action
    18

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         5 Lucas is a member of the class the Flores consent decree protects, and as such he is
    21
         entitled to enforce his rights thereunder. E.g., Bunikyte, supra. Yet even assuming,
    22   arguendo, the agreement were a non-class settlement solely between the actual
         parties in Flores, the agreement clearly aims to benefit Lucas, and he would be
    23
         entitled to enforce it as a third-party beneficiary. See RESTATEMENT (SECOND) OF
    24   CONTRACTS § 304 & cmt. a-b (1981); Fed. R. Civ. P. 71 (“When an order grants
         relief for a nonparty or may be enforced against a nonparty, the procedure for
    25
         enforcing the order is the same as for a party.”); Hook v. Arizona, Dep't of
    26   Corrections, 972 F.2d 1012, 1014 (9th Cir. 2014), (quoting Lavapies v. Bowen, 687
         F. Supp. 1193, 1207 (S.D. Ohio 1988) (“Under Rule 71, a non-party who establishes
    27
         standing to proceed as a third-party beneficiary of a settlement agreement or consent
    28   decree may pursue enforcement of that agreement or decree.”)) (citations omitted).
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     1   is before “this District Court,” and it therefore falls squarely within the jurisdiction
     2   the consent decree preserves.
     3
                B.     The Court may enjoin ORR to place Lucas with his sister
     4                 independently of habeas corpus.
     5          Defendants next argue that Lucas’s exclusive path to placement with his sister
     6   is a petition for a writ of habeas corpus. Opp. at 7-8. Accordingly, Defendants argue,
     7   if Lucas wants a writ of habeas corpus, he must petition in Texas and name a local
     8   official as respondent. Id. Defendants’ argument is without merit.
     9          To begin, the present motion seeks to enjoin Lucas’s placement as unlawfully
    10   restrictive. His claim that ORR’s refusing to place him with Madelyn violates the
    11   TVPRA is not about “release” at all. Rather, it is about placement in the least
    12   restrictive setting consistent with his best interests. See Flores v. Sessions, 862 F.3d
    13   863, 871 (9th Cir. 2017) (TVPRA requires ORR to “promptly” place detained a
    14   minor “in the least restrictive setting that is in the best interest of the child,”
    15   generally, with “a suitable family member . . . .”); 8 U.S.C. § 1232(c)(2)(A).
    16          That the least restrictive placement for Lucas is with Madelyn does not
    17   transform his TVPRA claim from one seeking lawful “placement” to one seeking
    18   “release.” Indeed, Defendants appear to concede as much, noting that “this matter . . .
    19   is about the placement of the child” (Opp. at 13), and the Defendants’ own authority
    20   suggests a habeas petition is not the proper vehicle to challenge Lucas’s placement.
    21   See Rumsfeld v. Padilla, 542 U.S. 426, 430 (2004) (“core” habeas rule is limited to
    22   “challenges to present physical confinement.”).
    23          Next, Lucas’s First Claim for Relief alleges that Defendants “unreasonably and
    24   unnecessarily delay or refuse to release children . . . without affording detained
    25   minors or their proposed custodians a timely, prompt, or meaningful opportunity to
    26   be heard regarding such custodians’ fitness.” Complaint (ECF 1) ¶ 129 (emphasis
    27   added). This claim does not attack detention at all, but rather asserts that greater
    28   process is due, a claim that is clearly presentable in an action for equitable relief.
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                                                       5                         PRELIMINARY INJUNCTION
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     1   Nettles v. Grounds, 830 F.3d 922, 930 (9th Cir. 2016) (en banc) (§ 1983 “exclusive
     2   vehicle for claims brought by state prisoners that are not within the core of habeas
     3   corpus”).6
     4         But after enduring nearly half a year in ORR detention, the Court’s ordering
     5   ORR to provide Lucas more process now would be too little and too late. ORR has no
     6   hearing procedure, and it cannot reasonably be expected to fashion one without
     7   protracting Lucas’s detention even more and causing him even greater irreparable
     8

     9   6In all events, the principles animating habeas relief as an exclusive remedy have no
         application here.
    10
         In Preiser v. Rodriguez, the Supreme Court held habeas corpus the exclusive means
    11   by which a state prisoner may challenge “penal custody” in federal court. 411 U.S.
    12   475, 479 (1973). The Court reasoned that allowing prisoners to sue under 42 U.S.C. §
         1983 would permit them to circumvent state court remedies, id. at 477 (“if a remedy
    13   under the Civil Rights Act is available, a plaintiff need not first seek redress in a state
    14   forum”), thereby raising thorny questions of “federal-state comity.” Id. at 477, 491.
         Finally, the Court reasoned, Congress’s enacting the specific habeas statute
    15   manifested an intent to foreclose recourse to the more general civil rights statute. Id.
    16   at 489-90.
    17 The Presier court’s concerns are entirely inapposite here: Lucas has never been
       convicted of or sentenced for any crime; no state actor is involved in this action; and
    18 Lucas has no alternative state or federal remedies by which he might cure breaches of

    19 the Flores consent decree, violations of the TVPRA, or ORR’s denial of his due
       process rights.
    20
       28 U.S.C. §§ 2255 and 2241 posit the habeas statutory scheme for federal prisoners.
    21 Section 2255, the primary federal habeas statute, is available only to a federal
    22
       “prisoner in custody under sentence of a court established by Act of Congress . . .” 28
       U.S.C. § 2255. “Generally, motions to contest the legality of a sentence must be filed
    23 under § 2255 in the sentencing court, while petitions that challenge the manner,

    24
       location, or conditions of a sentence’s execution must be brought pursuant to § 2241
       in the custodial court.” Hernandez v. Campbell, 204 F.3d 861, 864 (9th Cir. 2000).
    25
       Although aliens may challenge detention via habeas corpus provided they are not
    26 under a final order of removal, see, e.g., Nadarajah v. Gonzales, 443 F.3d 1069, 1076
       (9th Cir. 2006), nothing requires they do so. E.g., Saravia v. Sessions, 280 F. Supp.
    27
       3d 1168, 1193 (N.D. Cal. 2017) (finding “pendent venue” over equitable claims to
    28 preliminarily enjoin ORR against detaining juveniles without hearing).
                                                                     REPLY TO OPPOSITION TO MOTION FOR
                                                      6                        PRELIMINARY INJUNCTION
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     1   injury. The Court may and should preliminarily enjoin ORR to place Lucas with
     2   Madelyn as a remedy for the injury ORR’s opaque process has already caused. Cf.
     3   Beltran v. Cardall, 222 F. Supp. 3d 476, 489 (E.D. Va. 2016) (due process challenge
     4   to ORR’s refusing to release child; court declines to delineate process due and orders
     5   immediate release instead).
     6         Nothing requires Lucas to seek the relief this motion requests by habeas corpus
     7   alone.7
     8         C.     ORR’s refusing to release Lucas to Madelyn is final agency action
                      subject to judicial review, as is its failure to reunify Lucas with his
     9                family for nearly half a year.
    10         Defendants appear to concede the Court would have jurisdiction under the
    11   Administative Procedure Act (“APA”) to hold Lucas’s placement violative of the
    12   TVPRA were ORR to have made a final decision against placing him with his family.
    13   Opp. at 12-13. But, Defendants contend, there is no final agency action subject to
    14   APA review because ORR might yet place Lucas with his brother. Opp. at 11-14.
    15
         7Even assuming, arguendo, habeas corpus were Lucas’s exclusive means of
    16   challenging his placement, this motion would be properly cognizable in this Court.
    17   Plaintiffs’ complaint alleges jurisdiction under the habeas corpus statute (ECF 1 ¶ 6),
         the Supreme Court has never held that the “immediate custodian” rules applies in
    18
         immigration cases, Padilla, supra, 542 U.S. at 435 n.8, and the weight of authority in
    19   this circuit is that immigration detainees may bring habeas proceedings against the
    20
         Attorney General or Secretary of Homeland Security. See, e.g., Bracamontes-Reyes v.
         Sessions, No. CV 18-01301-PHX-DLR (JZB), 2018 U.S. Dist. LEXIS 76756, at *4-5
    21   (D. Ariz. May 4, 2018) (no “Ninth Circuit authority precluding Petitioner from
    22
         naming the Attorney General, the Secretary of Homeland Security, or the ICE
         Phoenix Field Office Director as Respondents . . .”); Rivera v. Holder, 307 F.R.D.
    23   539, 544 n.1 (W.D. Wash. 2015) (“immediate custodian” rule inapposite in
    24
         immigration detention); Bogarin-Flores v. Napolitano, 2012 U.S. Dist. LEXIS
         112964, 2012 WL 3283287, at *2 (S.D. Cal. Aug. 10, 2012) (Attorney General and
    25   Secretary of Homeland Security proper respondents in § 2241 petition seeking release
    26
         from immigration-related detention).
       A fortiori, there is nothing improper in Plaintiffs’ naming the Secretary of Health and
    27
       Human Services and the Director of ORR as defendants and respondents in this
    28 action.
                                                                   REPLY TO OPPOSITION TO MOTION FOR
                                                    7                        PRELIMINARY INJUNCTION
                                                                        NO. 2:18-CV-05741-DMG-PLA
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     1         The uncontroverted evidence, however, demonstrates that ORR’s decision
     2   against placing Lucas with Madelyn is entirely final. Madelyn R. ¶ 13 (“[T]he social
     3   worker told me that they had denied me [Lucas’s] custody [and] nothing could be
     4   done, that the denial was a final decision.”). And, of course, the consequences of that
     5   decision have already fallen concretely, disasterously, and with great finality on
     6   Lucas himself. See post and Supplemental Declaration of Dr. Amy Cohen, M.D.,
     7   Aug. 16, 2018, Plaintiffs’ Exhibit 63 filed herewith.
     8         In any event, ORR has now had nearly half a year to screen alternate
     9   custodians, including Lucas’s brother. Even assuming, arguendo, that ORR’s
    10   decision declaring Madelyn unfit was not sufficiently final, its refusal to place Lucas
    11   with his family for months on end is itself reviewable under the APA.
    12         Section 704 of the APA provides, “Agency action made reviewable by statute
    13   and final agency action for which there is no other adequate remedy in a court are
    14   subject to judicial review.” 5 U.S.C. § 704. An agency has a duty to conclude a
    15   matter presented to it within a “reasonable time.” 5 U.S.C. § 555(b). Accordingly,
    16   APA review includes “compel[ling] agency action unlawfully withheld or
    17   unreasonably delayed.” 5 U.S.C. § 706(1); Brock v. Pierce County, 476 U.S. 253, 260
    18   n.7 (1986) (APA vests district courts with authority to “compel agency action
    19   unlawfully withheld or unreasonably delayed”).
    20         Although the APA does not itself confer subject matter jurisdiction, Califano v.
    21   Sanders, 430 U.S. 99, 107 (1977), 28 U.S.C. § 1331 grants federal courts jurisdiction
    22   over “all civil actions arising under the Constitution, laws, or treaties of the United
    23   States.” 28 U.S.C. § 1331.
    24         In combination with the APA and the TVPRA, 28 U.S.C. § 1331 vests the
    25   Court with full authority to compel ORR to place Lucas in the least restrictive setting
    26   consistent with his best interests and to do so without further delay. Mashpee
    27   Wampanoag Tribal Council, Inc. v. Norton, 336 F.3d 1094, 1099-1100 (D.C. Cir.
    28   2003) (“[D]istrict court had jurisdiction under 28 U.S.C. § 1331 . . . to determine
                                                                     REPLY TO OPPOSITION TO MOTION FOR
                                                     8                         PRELIMINARY INJUNCTION
                                                                          NO. 2:18-CV-05741-DMG-PLA
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     1   whether the [agency] was in violation of § 555(b), and, if it was, to issue an
     2   appropriate order pursuant to § 706.”).
     3         Six factors are relevant to determining whether ORR’s refusing to reunify
     4   Lucas with his family for nearly half a year is reasonable:
     5          (1) the time agencies take to make decisions must be governed by a “rule of
     6         reason”; (2) where Congress has provided a timetable or other indication of the
     7         speed with which it expects the agency to proceed in the enabling statute, that
     8         statutory scheme may supply content for this rule of reason; (3) delays that
     9         might be reasonable in the sphere of economic regulation are less tolerable
    10         when human health and welfare are at stake; (4) the court should consider the
    11         effect of expediting delayed action on agency activities of a higher or
    12         competing priority; (5) the court should also take into account the nature and
    13         extent of the interests prejudiced by delay; and (6) the court need not “find any
    14         impropriety lurking behind agency lassitude in order to hold that agency action
    15         is ‘unreasonably delayed.”
    16   Telecommunications Research & Action Ctr. v. FCC, 750 F.2d 70, 80 (D.C. Cir.
    17
         1984) (citations omitted); accord Independence Mining Co. v. Babbitt, 105 F.3d 502,
    18
         507 (9th Cir. 1997) (adopting Telecommunications Research & Action Center test).
    19
               Examining these factors, ORR has now had nearly half a year to reunite Lucas
    20
         with his family. It rejected Madelyn in April, 2018. ORR-DUCS Home Study Report,
    21
         Apr. 12, 2018, PX at 21-64 (“Home Study”). Even if ORR reasonably did nothing to
    22
         evaluate Lucas’s brother before rejecting Madelyn, it has since had at least four
    23
         months to do so. In standard child welfare practice, four months is an eternity. Decl.
    24
         of James Owens, June 12, 2018, Exhibit 64, ¶ 6 (“Owens”) (children’s social workers
    25
         typically “given one week to complete the assessment of a relative’s home. The
    26
         assessment covers both a physical assessment of the prospective home and the
    27
         proposed caretaker.”).
    28
                                                                    REPLY TO OPPOSITION TO MOTION FOR
                                                    9                         PRELIMINARY INJUNCTION
                                                                         NO. 2:18-CV-05741-DMG-PLA
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     1         Next, the TVPRA directs that “an unaccompanied alien child in the custody of
     2   the Secretary of Health and Human Services shall be promptly placed in the least
     3   restrictive setting that is in the best interest of the child.” 8 U.S.C. § 1232(c)(2(A)
     4   (emphasis added). The TVPRA’s “prompt” placement requirement mirrors the Flores
     5   Settlement’s requirement that ORR release non-dangerous children to reputable
     6   custodians without unnecessary delay. See Flores v. Sessions, supra, 862 F.3d at 876.
     7   There is nothing prompt or reasonable about ORR’s delay in placing Lucas with his
     8   family for nearly half a year.
     9         Third, Defendants nowhere dispute that detention is inherently inimical to
    10   children’s well-being. See generally B. Holman & J. Ziedenberg, The Dangers of
    11   Detention: The Impact of Incarcerating Youth in Detention and Other Secure
    12   Facilities (Justice Policy Institute, ed.), www.justicepolicy.org/images/upload/06-
    13   11_rep_dangersofdetention_jj.pdf.
    14         Nor do they contest Lucas has (i) a fundamental right to freedom from
    15   detention, Zadvydas v. Davis, 533 U.S. 678, 690 (2001); (ii) a substantial liberty
    16   interest in reunification with his sister, Aristotle P. v. Johnson, 721 F. Supp. 1002,
    17   1005 (N.D. Ill. 1989), or (iii) suffered grievously during ORR detention and will only
    18   suffer more with every day ORR confines him at the Shiloh psychiatric facility.
    19         Finally, the Court’s ordering ORR to place Lucas with his sister could not
    20   possibly prejudice “activities of a higher or competing priority.”
    21         In sum, the APA, the TVPRA, and 28 U.S.C. § 1331 fully empower this Court
    22   to order ORR to place Lucas in the least restrictive setting consistent with his best
    23   interests: that is, with Madelyn.
    24
               D.     ORR has refused to place Lucas with Madelyn entirely without
    25                process or transparency— a prima facie denial of due process.
    26         Defendants next offer that “ORR has provided for a proper process that has
    27   revealed legitimate concerns.” Opp. at 14. The assertion borders on frivolous.
    28
                                                                      REPLY TO OPPOSITION TO MOTION FOR
                                                     10                         PRELIMINARY INJUNCTION
                                                                           NO. 2:18-CV-05741-DMG-PLA
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     1         In Flores v. Sessions, the court said the following about ORR’s purported
     2   “proper process”:
     3         ORR publishes a guide that describes its policies for determining whether to
     4         detain or release unaccompanied minors. These policies are posted on ORR’s
     5         website but are not promulgated through any formal agency rule-making
     6         process and do not appear to have any binding effect. Under the policies, the
     7         initial decision about whether to release a minor to a particular sponsor is made
     8         by the local federal field specialist. If the field specialist denies release, the
     9         parent or legal guardian (but not, apparently, any other sponsor) has 30 days to
    10         request an appeal to the Assistant Secretary for Children and Families. . . .
    11         Perhaps most important, minors—as opposed to parents or guardians—can
    12         appeal a detention decision only “[i]f the sole reason for denial of release is
    13         concern that the unaccompanied alien child is a danger to himself/herself or the
    14         community.”
    15   862 F.3d at 871-72 (citations omitted).
    16         Defendants nowhere refute Lucas’s showing that ORR’s declaring his sister
    17   unfit was wholly opaque and peremptory. Madelyn R. ¶ 13, supra.
    18         Nor do Defendants deny that, viewed in light of accepted child welfare
    19   practices, ORR’s “process” for declaring family members unfit—or more accurately,
    20   the utter lack of process—is singularly aberrational. Decl. of Cecilia Saco, PX at 138
    21   ¶¶ 12, 13 (ECF 40-9) (standard child welfare practice requires families receive
    22   “detailed, written explanation of why they are being denied custody of a dependent
    23   minor”; social workers “make recommendations” which “families are entitled to
    24   contest and rebut”; no state child protection agency “empowered to issue final,
    25   unreviewable decisions regarding the suitability of family members to care for
    26   dependent children”); accord, National Council of Juvenile and Family Court Judges,
    27   Resource Guidelines: Improving Court Practice in Child Abuse & Neglect Cases 30
    28   (1995), www.ncjfcj.org/sites/default/files/ resguide_0.pdf; see also Owens, supra, ¶ 3
                                                                      REPLY TO OPPOSITION TO MOTION FOR
                                                     11                         PRELIMINARY INJUNCTION
                                                                           NO. 2:18-CV-05741-DMG-PLA
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     1   (involuntary placement in psychiatric facility “impermissible without a hearing.”); id.
     2   ¶ 8 (extended detention without trial of children not adjudicated delinquent
     3   “inconsistent with child welfare practice requiring that children be placed in least
     4   restrictive most family like setting.”).
     5         Critically, ORR never denies that Lucas has (i) a fundamental right to freedom
     6   from detention, Zadvydas, supra; (ii) a substantial liberty interest in family unity and
     7   association, Aristotle P., supra; (iii) a right to freedom from involuntary civil
     8   committment without trial or proof of dangerousness, O’Connor v. Donaldson, 422
     9   U.S. 563, 575 (1975); (iv) a right to placement in the least restrictive setting
    10   consistent with his best interests, 8 U.S.C. § 1232(c)(2(A); and (v) a right to release
    11   to qualified custodians “without unnecessary delay,” Flores Settlement ¶ 14.
    12         Finally, applying the test for due process, see Mathews v. Eldridge, 424 U.S.
    13   319 (1976), by evaluating: (1) the private interest that will be affected by the official
    14   action; (2) the risk of an erroneous deprivation of such interest through the
    15   procedures used, and the probably value, if any, of additional procedural safeguards;
    16   and (3) the Government’s interest, it is clear that ORR’s process exhibits substantial
    17   deficiencies.
    18         Lucas’s above-enumerated interests are clearly substantial. ORR’s opaque,
    19   outlier “process” for summarily disqualifying custodians poses a palpable risk of
    20   error. See e.g. Beltran, 222 F. Supp. 3d. at 485 (deficiencies in ORR’s procedures in
    21   determining custodian fitness were exacerbated by putting onus on custodian to
    22   change the agency’s mind without any requiremetn that ORR justify its deprivation of
    23   fundamental rights). And athough the Government has a legitimate interest in
    24   protecting children, it has no interest in locking Lucas in a psychiatric facility without
    25   notice or opportunity to be heard. ORR’s sole interest in denying greater fairness and
    26   transparency is its own administrative convenience, nothing more.
    27         The remainder of Defendants’ opposition to Lucas’s showing that ORR has
    28   denied him due process boils down to a claim that ORR’s concerns about Madelyn’s
                                                                     REPLY TO OPPOSITION TO MOTION FOR
                                                     12                        PRELIMINARY INJUNCTION
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     1   fitness are valid. They are not. See Memorandum in Support of Preliminary
     2   Injunction (ECF 29-1) at 5-10.
     3             To the contrary, ORR’s own home study is remarkably positive regarding
     4   Madelyn’s fitness to care for Lucas and her understanding of the need to provide for
     5   his mental health needs. Critically, the ORR investigator concluded that Madelyn “is
     6   able to provide an appropriate home environment for [Lucas].” Home Study, supra,
     7   at 49.8
     8

     9
        As discussed in Plaintiff’s opening memorandum, ORR declared Madelyn unfit for
         8

       two, and only two, reasons: (1) an adult male who might be living in Madelyn’s home
    10 had not appeared for fingerprinting; and (2) Madelyn was insufficiently keen to

    11
       provide Lucas mental health care following release. Home Study, supra, PX at 42,
       62.
    12
         By way of post hoc rationalization, Defendants now offer a “Significant Incident
    13   Report” (“SIR”) from July 2018, alleging a statement by Lucas that Madelyn “would
         hit him” in Guatemala. Defendants’ Exhibit 50. Yet according to the SIR, Lucas also
    14
         affirmed that “his relationship with his sister was fine,” and that as far as Madelyn’s
    15   hitting him now is concerned “he would be fine because he is now grown [and] there
         is no danger.” Id. There are multiple reasons the Court should reject ORR’s eleventh
    16
         hour attempt to impugn Madelyn’s fitness.
    17
         First, Defendants offer no actual evidence that Madelyn ever hit Lucas, or even that
    18   Lucas said she did. The individual to whom Lucas purportedly made his statement is
         identified in the SIR only by the initials, “GDIT.” Defendants offer no declaration
    19
         from “GDIT” or anyone else attesting to the truth of statements appearing in the SIR,
    20   nor anything authenticating of the SIR itself. Lucas’s purported statements in the SIR
         are inadmissible double hearsay. See Colvin v. United States, 479 F.2d 998, 1003 (9th
    21
         Cir. 1973).
    22   Next, ORR’s new allegation is wholly inconsistent with its own home study, which
    23   praises Madelyn’s current parenting skills, including her approach to discipline.
         Home Study, supra, PX at 35 (Madelyn “ensured her children were properly
    24   disciplined [and] used removal or privileges . . . and communication (i.e. advice) as
    25   forms of discipline.”); 37 (Madelyn “currently disciplines her daughter” by
         communicating “about bad and good behavior and removes privileges such as toys.”);
    26   PX 54 (same); 38 (Madelyn reported “understanding these types of [physical] abuse
    27   can traumatize a child”); 39 (Madelyn “will inform [Lucas] of her discipline methods
         . . . in order for [him] to be aware he will not be abused in her care.”); 57 (“The
    28
         sponsor is aware of [Lucas’s] history of physical abuse and identified appropriate
                                                                   REPLY TO OPPOSITION TO MOTION FOR
                                                    13                       PRELIMINARY INJUNCTION
                                                                        NO. 2:18-CV-05741-DMG-PLA
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     1         Yet even assuming, arguendo, that Madelyn might not be an ideal custodian
     2   because she believes months of detention have contributed to Lucas’s present
     3   psychological distress, or because some unfingerprinted adult might be living in her
     4   house, ORR’s opposition to placing Lucas with her remains fatally counterfactual. If
     5   ORR is actually protecting Lucas, it must refute Plaintiff’s showing that the
     6   conditions and treatment Lucas has endured at Shiloh are wholly inimical to his
     7   safety and well-being. Defendants do not even attempt this showing, and the evidence
     8   that Lucas is suffering irreparably in ORR custody is uncontroverted.
     9         In her psychiactric evaluation of Lucas, and in her supplemental declaration
    10   filed herewith, Dr. Amy Cohen enumerates the myriad ways in which ORR’s
    11   treatment of Lucas has worsened his psychological and physical health and well-
    12   being. Supplemental Declaration of Dr. Amy Cohen, M.D., Aug. 16, 2018, Plaintiffs’
    13   Exhibit 63 filed herewith. She points out that when ORR purportedly “hospitalized”
    14   him, it “simply confined Lucas in a room of their emergency department of a full
    15   seven days without any treatment or evaluation whatsoever. They never transferred
    16   him to a psychiatric treatment setting at all.” Id. at ¶ 8. Dr. Cohen concludes with this
    17   indictment of the “care” Lucas is receiving in ORR custody:
    18         ORR’s delivery of mental health care to Lucas has failed to meet acceptable
    19         standards of competency, and in fact appears to have harmed him. Chief among
    20         ORR’s failings: misdiagnosing his mental health condition, administration of
    21         medication for inaccurate diagnosis and with failure to follow response to
    22         identified symptoms, failure to obtain informed consent from either Lucas or
    23         his designated family members, absence of any trauma-informed treatment,
    24
       disciplining methods . . .”); 60 (“The sponsor demonstrated having parental
    25 experience and motivation to care for” Lucas); 32 (Madelyn “aware physical abuse
    26
       (i.e. hitting) is against the law [and] if physical abuse is occurring the government or
       a social worker will take away the child.”).
    27
       Finally, both the SIR and the home study concur that Lucas now “feels safe,
    28 comfortable, and content to reunify” with Madelyn. Id., PX at 27.
                                                                    REPLY TO OPPOSITION TO MOTION FOR
                                                    14                        PRELIMINARY INJUNCTION
                                                                         NO. 2:18-CV-05741-DMG-PLA
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     1          failure to take into account the deleterious effects of prolonged detention and
     2          family separation on Lucas’s psychology/diagnosis, and seizing upon his
     3          willingness to disclose his feelings and the reasons for those feelings to deny
     4          him reunification with his family, transfer him to Shiloh and prolong even more
     5          the detention which is precipitating so much of his suffering.
     6   Id. at ¶ 10 (emphasis added).
     7          Dr. Cohen declares that she recently spoke to Lucas again. As compared to a
     8   month ago, Dr. Cohen reports, Lucas is now “far more isolated, untrusting and
     9   hopeless . . . He feels completely alone, experiencing no sense of affiliation with
    10   anyone at Shiloh. He has been forbidden to speak with his sister and is deeply
    11   despondent about this. . . .” Id. at ¶ 14. She concludes that Lucas’s “ongoing
    12   incarceration and isolation from his family is responsible for his deterioration and is
    13   truly placing him at significantly greater risk.” Id. at ¶ 14 (emphasis supplied).
    14          In sum, the uncontroverted record establishes that ORR’s confining Lucas has
    15   and continues to cause him grave actual injury. Memorandum in Support of
    16   Preliminary Injunction (ECF 29-1) at 11-16. Speculative concerns about Madelyn’s
    17   possible unfitness simply pale in comparison.
    18
         III.   WHETHER PROHIBITORY OR MANDATORY, LUCAS SATISFIES ALL
    19          REQUIREMENTS FOR ISSUANCE OF PRELIMINARY INJUNCTION.
    20
                Defendants lastly argue that Lucas’s seeking to reunify with his family requires
    21
         a mandatory injunction, and the facts and law must therefore clearly favor his
    22
         position. Opp. at 6-7.9 The short answer is they do.
    23

    24   9 For the time being, the Ninth Circuit applies separate standards for injunctions
         depending on whether they are prohibitory, i.e., aimed at preventing future conduct,
    25
         or mandatory, i.e., “they go beyond ‘maintaining the status quo[.]’” Hernandez v.
    26   Sessions, 872 F.3d 976, 997 (9th Cir. 2017). The Court of Appeals acknowledges that
         application of these different standards “is controversial” and has “‘led to distinctions
    27
         that are more semantic than substantive.’” Id. at 997-98 (quoting Tom Doherty
    28   Assocs., Inc. v. Saban Entm’t, Inc., 60 F.3d 27, 34 (2d Cir. 1995)).
                                                                    REPLY TO OPPOSITION TO MOTION FOR
                                                    15                        PRELIMINARY INJUNCTION
                                                                         NO. 2:18-CV-05741-DMG-PLA
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     1         In Ms. L. v. United States Immigration & Customs Enf’t, 310 F. Supp. 3d 1133
     2   (S.D. Cal. 2018), the plaintiffs challenged ICE’s practice of separating migrant
     3   families and placing their children in ORR custody. Id. at 1137-38. Plaintiffs
     4   requested classwide injunctive relief prohibiting blanket family separations going
     5   forward and requiring the Government to reunify separated families unless the parent
     6   is unfit or dangerous. Id. at 1137. As here, ICE argued in Ms. L. that the plaintiffs
     7   were required to meet the heightened standard for a mandatory injunction before the
     8   court could order it to reunify separated families. Id. at 1141 n.8. The court
     9   considered only whether the plaintiffs had a fair chance of prevailing on their claim
    10   that ICE’s separating their families violated their substantive due process right to
    11   family integrity, id. at 1142, yet held the plaintiffs entitled to a mandatory preliminary
    12   injunction requiring ICE to reunify their families. Id. at 1141 n.8.
    13         Similarly, in Saravia, supra, the court preliminarily enjoined ICE against re-
    14   arresting children ORR had previously released without affording them a hearing at
    15   which the children could contest cause for re-arrest. 280 F. Supp. 3d at 1205-06. The
    16   court considered only whether the plaintiff would likely prevail on a procedural due
    17   process claim. Again, the court held the plaintiff entitled to preliminary relief:
    18

    19 The instant motion is no exception. On the one hand, ORR is confining Lucas at
       Shiloh. On the other, this motion aims to prevent future injury: i.e., ORR’s
    20 prolonging Lucas’s confinement, thereby depriving him of personal liberty, family

    21 association, and the least restrictive placement consistent with his best interests, and
       subjecting him to even greater irreparable injury in ORR’s substandard psychiatric
    22 facility.

    23 In short, the only way to prevent future unlawful conduct and the infliction of future
    24
       irreparable injury is to enjoin the status quo. Hernandez v. Sessions, supra, at 998-99
       (requiring “government conduct new bond hearings” can “be understood as merely
    25 prohibiting the government from continuing to detain individuals subject to bond

    26
       amounts set through unconstitutional procedures”).
       As argued in the text, the distinction between mandatory and prohibitory injunctions
    27
       is beside the point: Plaintiff qualifies for relief under either standard, whatever
    28 difference there may be between them.
                                                                     REPLY TO OPPOSITION TO MOTION FOR
                                                     16                        PRELIMINARY INJUNCTION
                                                                          NO. 2:18-CV-05741-DMG-PLA
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     1         Even assuming that implementation of the hearing process described above
     2         constitutes a “mandatory” rather than a “prohibitory” injunction, A.H. is
     3         entitled to the relief he seeks. . . . The detention of minors without due process
     4         results in “extreme or very serious damage” to this vulnerable population that
     5         is not “capable of compensation in damages.”
     6   Id. at 1201.
     7         The case at bar is indistinguishable from Ms. L. and Saravia. If anything,
     8   Lucas’s case is even stronger, drawing force not only from the Due Process Clause,
     9   but also from a specific statute—the TVPRA—and a consent decree—the Flores
    10   Settlement—both of which make it more likely Lucas will prevail than were the
    11   plaintiffs in Ms. L. or Saravia. Neither court shrunk from issuing “mandatory”
    12   preliminary injunctions to save children from irreparable harm, and neither should
    13   this Court.10
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    17  Defendants briefly complain that the Court’s issuing a preliminary injunction
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       would grant Lucas “the very relief he hopes to obtain through this entire action . . . .”
    18 Opp. at 17. That is clearly not the case.

    19 The relief Plaintiffs seek in this action is almost entirely procedural: that ORR must
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       afford children greater transparency and fairness before declaring their available
       custodians unfit, dispatching them to secure facilities, or forcing them to consume
    21 psychotropic drugs. Obviously, the Court’s ordering ORR to place Lucas with

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       Madelyn would grant none of this relief.
         And even with respect to alterning Lucas’s placement, nothing in the Flores
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         Settlement, at least, would prevent ORR from placing Lucas elsewhere were Madelyn
    24   actually to prove an unfit custodian. Paragraph 16 of the Flores Settlement provides:
         “The INS may terminate the custody arrangements and assume legal custody of any
    25
         minor whose custodian fails to comply with the agreement required under Paragraph
    26   15.” Paragraph 15 requires, inter alia, that a custodian agree to “provide for the
         minor’s physical, mental, and financial well-being . . . .” Defendants have not shied
    27
         away from re-arresting class members in the past. Saravia, supra, 280 F. Supp. 3d at
    28   1177-79, 1202-03.
                                                                    REPLY TO OPPOSITION TO MOTION FOR
                                                    17                        PRELIMINARY INJUNCTION
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     1   IV.   CONCLUSION
     2         For the foregoing reasons, the Court should grant this motion and preliminarily
     3   enjoin ORR from continuing to detain Plaintiff Lucas in lieu of placement with
     4   Madelyn.
     5
         Dated: August 17, 2018.                    CARLOS HOLGUÍN
     6                                              Center for Human Rights &
     7
                                                    Constitutional Law

     8                                              HOLLY COOPER
     9                                              CARTER WHITE
                                                    University of California Davis School of
    10                                              Law
    11
                                                    LEECIA WELCH
    12                                              NEHA DESAI
    13                                              POONAM JUNEJA
                                                    CRYSTAL ADAMS
    14                                              National Center for Youth Law
    15                                             /s/ Carlos Holguín
    16                                               Carlos Holguín
    17                                            One of the Attorneys for Plaintiffs
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                                                                 REPLY TO OPPOSITION TO MOTION FOR
                                                  18                       PRELIMINARY INJUNCTION
                                                                      NO. 2:18-CV-05741-DMG-PLA
